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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                   6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                        GREENBELT, MARYLAND 20770
                                                                                             301-344-0052


                                           MEMORANDUM

       TO:            Clerk of the Court
                      Counsel of Record
                      Lavon Dobie

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. Lavon Dobie
                      Criminal Case No. RWT 04-0235

       DATE:          March 3, 2015

                                           *********
              My chambers received on March 2, 2015, the attached correspondence from Defendant,
       Lavon Dobie. The Clerk is directed to docket the attached correspondence as a Motion to
       Correct Sentence.

               The Defendant is reminded that all filings in this case must be sent directly to the Clerk’s
       Office for docketing, and not sent directly to my chambers.

              The Government is directed to respond to Defendant’s motion within twenty-eight (28)
       days of the date of this Order.

              Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly. The Clerk is also directed to mail a copy of this
       Memorandum Order to the Defendant.



                                                                   /s/
                                                     Roger W. Titus
                                                     United States District Judge



       Attachment
